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EXHIBITS B1 — B2

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American
i Hotel & Lodging
Educational Institute

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Awards this certificate to

Sheena Dume

for having successfully completed the course

Slat
With Honors

March 13, 2012

Date

Rao

President & COO

Instructor

09-03520 —
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999263787
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This voucher certifies that Sheena Dume (#999263787) has successfully completed the

American Hotel & Lodging Educational Institute’s START (Skills, Tasks, and Results Training) Program and is eligible for one (1)
entry-level certification upon current employment in the hospitality industry.

J Front Desk Representative - HSC FDR Cj Public Space Cleaner - HSC PSC Oj PBX Operator - HSC PBX

© Maintenance Employee - HSC MNT © Bell Attendant - HSC - BA Cj Restaurant Server - HSC RS

© Reservationist - HSC RES CO) Banquet Server - HSC BS © Guestroom Attendant - HSC GA
Oj Banquet Set-Up Employee - HSC BSE © Laundry Attendant - HSC LA 0 Bus Person - HSC BP

I certify that the above named person is currently employed and is eligible for the above checked certification.

STAMEOFO Su TES Hote, L PERSONAL AND PROFESSIONAL DATA

Mr./Ms_/Mrs.) raduation Da’
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“ Mailing YW)

Address |
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Department Supervisor Signature/Date SCHOOL a

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Certification Department

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800 N. Magnolia Ave., Suite 300 x Ov ¢
Orlando, FL 32803 mm TAM ‘Ff d T © 16A0

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Case 3:14-cr-00160-JBA Document 107-2 Filed 02/26/16 Page 4of5

ata

__ Sheena Dume -

78 Oakridge @ Greenwich, CT 06830 @ (860) 778-2805 @ sheena.dume@yahoo.com

OBJECTIVE

To expand my customer service knowledge and experience in guest relations, front desk
and/or another customer-facing position in the hotel, hospitality or travel industry.

PROFILE

Customer service professional with extensive guest relations experience. I am_ highly

motivated, personable, and accustomed to handling customer needs or issues efficiently,
accurately and with a smile. I learn quickly and apply my skills using initiative and the ability
to comprehend and leverage instructions. I always maintain a positive attitude in varied
circumstances, and use excellent communications and telephone etiquette.

SKILLS SUMMARY

@ Seasoned customer service professional

@ Team-player

@ Resolution management

@ Knowledgeable of universal cash management procedures

@ Data Entry
EDUCATION
American Hotel and Lodging Educational Institute
Skills Task And Results Training (S.T.A.R.T.) April 2012
AH&L Certificate — April 2012
Norwalk Community College - registrant part-time coursework in pre-law Fall 2012
High School Diploma/GED - Central High School, Bridgeport, CT 2011
WORK EXPERIENCE

CUSTOMER SERVICE/ CASHIER 2011 - CURRENT

A&P FRESH MARKET, GREENWICH, CT

¢ Assist customers with product selection, purchase and check out

@ Ensure positive shopping experience for customers

@ Provide assistance to the front-end manager during store closing by counting cash receipts and
register close outs

@ Provide customers with updates on sales, coupons, discounts and upcoming promotions

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— Sheena Dume

78 Oakridge @ Greenwich, CT 06830 @ (860) 778-2805 @ sheena.dume@yahoo.com
Work Experience, continued
SALES ASSOCIATE
MODELL’S, STAMFORD, CT FALL /WINTER 2009- SEASONAL POSITION

@ Acted as a point of contact for customers
@ Performed cashiering duties
@ Provided customers with updated information on products and services

COUNSELOR AFTER- SCHOOL EMPLOYMENT, 2006 -2009

BOYS & GIRLS CLUB, STAMFORD, CT

¢ Facilitated youth group activities
@ Tutored youth in academics subjects
@ Mentored youth

RECEPTIONIST
BOYS & GIRLS CLUB, STAMFORD, CT

Performed intake, filing and data entry of membership application and related forms
Maintained membership records

Made daily deposits of cash deposits

Answered inquiries about club services from members, parents and visitors

Triaged incoming calls

Managed pager system and performed other light clerical duties as assigned

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ASSISTANT CAMPAIGN ORGANIZER

JOE LIEBERMAN CAMPAIGN- STAMFORD, CT SUMMER, 2006
Canvassed and promoted campaign to community

Triaged phone calls to appropriate areas

Provided support to organize neighborhood youth in different teams
Performed as field team communicator and report receiver

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REFERENCES AVAILABLE UPON REQUEST

NRE

78 OAK RIDGE @ Connecticut, Ct 06830 @ (860) 778-2805 @ sheena.dume@yahoo.com
